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                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

    BRYAN CRAIG FLANDERS,

           Plaintiff,                                        Case No. 1:17-cv-05920
    v.
                                                             Honorable Judge John Robert Blakey
    BLUESTEM BRANDS, INC. d/b/a
    FINGERHUT,                                               Magistrate Honorable Susan Cox

          Defendant.


                  AGREED STIPULATION OF DISMISSAL WITH PREJUDICE

           IT IS HEREBY STIPULATED AND AGREED by and between the Plaintiff, BRYAN

CRAIG FLANDERS, and the Defendant, BLUESTEM BRANDS, INC. d/b/a FINGERHUT,

through their respective counsel that the above-captioned action is dismissed, with prejudice, against

BLUESTEM BRANDS, INC. d/b/a FINGERHUT, pursuant to Federal Rule of Civil Procedure 41.

Each party shall bear its own costs and attorney fees.

Dated: May 2, 2018                                       Respectfully Submitted,

BRYAN CRAIG FLANDERS                                     BLUSTEM BRANDS, INC.
                                                         d/b/a FINGERHUT
/s/ Nathan C. Volheim                                    /s/ Ryan G. Milligan (with consent)
Nathan C. Volheim                                        Ryan G. Milligan
Counsel for Plaintiff                                    Counsel for Defendant
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